0034-0U-EPIB0U-00588141-1887735     United States Bankruptcy
                                                  For The
                                                             Court
                                                                 Western District of New York
IN RE:                                                                                                 DATE            CASE No. 1710614 K
           TIMOTHY J & WENDY L RANDALL
           5620 IDE ROAD                                                                            08/18/2017                   SS #1 XXX-XX-2182
           BURT, NY 14028                                                                                                        SS #2 XXX-XX-8708


                                                            MOTION TO ALLOW CLAIMS
Pursuant to 11 U.S.C. 704(4), the trustee has examined the proofs of claim filed in this case and objected to the allowance of such
claims as appeared to be improper except where no purpose would have been served by such objection. After such examination
and objections, if any, the trustee states that claims should be deemed allowed, or "not filed" as indicated below.
 CLAIM #                    NAME AND ADDRESS OF CREDITOR                                                      AMOUNT         FORGIVE %      CLASSIFICATION

   001        PORTFOLIO RECOVERY ASSOCIATES, LLC / P.O. BOX 12914                                        2,448.61               0.0000                Unsecured
              NORFOLK, VA 23541                                                                          3.9000%
   002        CITIZENS BANK / % HARRIS BEACH                                                                                                            Not Filed
              333 WEST WASHINGTON ST. / SYRACUSE, NY 13202

   003        CITIZENS BANK, N.A. / % MICHAEL A. KORNSTEIN, ESQ.                                                                                       DirectPay
              39 NO. PEARL ST., 4th FLOOR / ALBANY, NY 12207                                                                                           87,009.30
   004        CITIZENS BANK, NA / 10561 TELEGRAPH ROAD                                                   20,452.66                                       Secured
              GLEN ALLEN, VA 23059-4577                                                                  3.9000%
   005        CORNERSTONE COMMUNITY F.C.U. / 6485 SOUTH TRANSIT ROAD                                     5,408.39                                        Secured
              LOCKPORT, NY 14094                                                                         3.9000%
   006        CORNERSTONE COMMUNITY F.C.U. / 6485 SOUTH TRANSIT ROAD                                     3,390.64               0.0000                Unsecured
              LOCKPORT, NY 14094                                                                         3.9000%
   007        DISCOVER BANK / C/O ZWICKER & ASSOC.                                                                                                      Not Filed
              130 ALLENS CREEK RD. 1ST FLOOR / ROCHESTER, NY 14618

   008        DISCOVER BANK / DISCOVER PRODUCTS, INC.                                                    4,094.08               0.0000                Unsecured
              P.O. BOX 3025 / NEW ALBANY, OH 43054-3025                                                  3.9000%
   009        NIAGARA COUNTY TREASURER / PHILO J. BROOKS BUILDING                                                                                       Not Filed
              59 PARK AVENUE / LOCKPORT, NY 14094

   010        STERLING JEWELERS, dba KAY JEWELERS / % WELTMAN, WEINBERG &3,627.79
                                                                          REIS CO., LPA                                                                  Secured
              P.O. BOX 93784 / CLEVELAND, OH 44101                       3.9000%
   011        TOYOTA MOTOR CREDIT CORP. / P.O. BOX 9013                                                                                                DirectPay
              ADDISON, TX 75001                                                                                                                        14,568.33
   012        CORNERSTONE COMMUNITY F.C.U. / 6485 SOUTH TRANSIT ROAD                                     300.63                 0.0000                Unsecured
              LOCKPORT, NY 14094                                                                         3.9000%
   013        CORNERSTONE COMMUNITY F.C.U. / 6485 SOUTH TRANSIT ROAD                                     281.31                 0.0000                Unsecured
              LOCKPORT, NY 14094                                                                         3.9000%




                   Case 1-17-10614-MJK                     Doc 46        Filed 09/13/17 Entered 09/13/17 13:27:34                                   Desc
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Page 1 of 2             Please be advised that the claim number here within refers only to the Trustee's claim number - not to the number assigned by the Court.
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                                                      For The
                                                                 Court
                                                                         Western District of New York
IN RE:                                                                                                    DATE            CASE No. 1710614 K
           TIMOTHY J & WENDY L RANDALL
           5620 IDE ROAD                                                                                08/18/2017                  SS #1 XXX-XX-2182
           BURT, NY 14028                                                                                                           SS #2 XXX-XX-8708


                                                                MOTION TO ALLOW CLAIMS
Pursuant to 11 U.S.C. 704(4), the trustee has examined the proofs of claim filed in this case and objected to the allowance of such
claims as appeared to be improper except where no purpose would have been served by such objection. After such examination
and objections, if any, the trustee states that claims should be deemed allowed, or "not filed" as indicated below.
 CLAIM #                      NAME AND ADDRESS OF CREDITOR                                                       AMOUNT         FORGIVE %      CLASSIFICATION

  899         TIMOTHY J & WENDY L RANDALL / 5620 IDE ROAD                                                                                                    Refund
              BURT, NY 14028

                                                                                         Total                   40,004.11 *******
      JOSEPH G. FRAZIER, ESQ.                                                                               1,700.00                    Debtor's Attorney
      280 EAST AVENUE
      PO BOX 464
      LOCKPORT, NY 14095

         WHEREFORE, your trustee prays that those claims which have been filed be deemed allowed for the purpose of distribution as indicated above.
                                                                                                              /s/Albert J. Mogavero
                                                                                                              Albert J. Mogavero
                                                                     NOTICE
At Buffalo, NY
PLEASE TAKE NOTICE that the above claims are allowed as recommended by the Trustee and payable as provided by the debtor's plan. The debtor
and debtor's attorney of record are hereby advised that written application for modification of this notice must be made within 30 days from the date
of the certificate of mailing of this notice. The motion to allow claims is deemed approved without a separate order of this Court, absent a written
application for modification.
 DATED:           09/15/2017                                                                      CLERK      /s/ LISA BERTINO BEASER

                    CERTIFICATE OF MAILING
                                                                                                             CLERK OF COURT
 A copy of the above Motion and notice was served upon the debtor and
 his or her attorney of record by mailing a copy thereof as ordered in
 envelopes on the date of said notice.

 CLERK         /s/ S. Bavisotto
                    CHAPTER 13 OFFICE




                    Case 1-17-10614-MJK                        Doc 46           Filed 09/13/17 Entered 09/13/17 13:27:34                               Desc
                                                                                    Page 2 of 2
Page 2 of 2                Please be advised that the claim number here within refers only to the Trustee's claim number - not to the number assigned by the Court.
